      Case 19-20118-GLT                        Doc 140         Filed 06/27/24 Entered 06/27/24 16:08:35                        Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              MICHAL J. GHAFOOR


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          19-20118GLT




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  WILMINGTON SAVINGS FUND SOCIETY FSB                                              4

 Last 4 digits of any number you use to identify the debtor's account                         1   2   6   6

 Property Address:                             516 KELLY AVE
                                               PITTSBURGH PA 15221




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        4,967.20

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        4,967.20

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $        1,580.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $        1,580.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        6,547.20



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $485.26
         The next postpetition payment is due on                 3 / 1 / 2024
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     MICHAL J. GHAFOOR                                                Case number (if known) 19-20118GLT
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date     06/27/2024


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     MICHAL J. GHAFOOR                                         Case number (if known) 19-20118GLT
             Name




                                             Disbursement History

Date         Check #    Name                                 Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
07/29/2020   1168135    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      132.52
09/28/2020   1174324    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      505.30
10/26/2020   1177384    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      263.46
11/24/2020   1180446    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      263.46
12/21/2020   1183340    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      263.46
02/22/2021   1189498    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      526.92
03/26/2021   1192825    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      263.46
04/26/2021   1196036    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      221.82
06/25/2021   1202350    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                       71.32
07/26/2021   1205517    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      223.52
08/26/2021   1208687    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      367.07
09/24/2021   1211783    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      463.10
10/25/2021   1214831    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      443.83
11/22/2021   1217857    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      443.83
12/23/2021   1220958    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      443.83
01/26/2022   1223991    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                       70.30
                                                                                                                 4,967.20

Post Petition Claim (1305) (Part 2 (d))
01/26/2022   1223991    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTOMTG
                                                                                  CREDITOR
                                                                                    LN TRUST C                     283.97
02/23/2022   1226833    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTOMTG
                                                                                  CREDITOR
                                                                                    LN TRUST C                     354.27
03/25/2022   1229849    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTOMTG
                                                                                  CREDITOR
                                                                                    LN TRUST C                       38.28
04/11/2022   1229849    WILMINGTON SAVINGS FUND SOCIETY FSBCANCELLED
                                                            - TRUSTEE STANWICH
                                                                       CHECK TO MTG
                                                                                CREDITOR/PRINCIPLE
                                                                                    LN TRUST C                      -38.28
11/27/2023   1286234    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR                           80.80
11/27/2023   1286234    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR                         667.01
12/21/2023   1288782    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR                           20.96
12/21/2023   1288782    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR                         172.99
                                                                                                                 1,580.00

MORTGAGE REGULAR PAYMENT (Part 3)
04/26/2019   1114717    BAYVIEW LOAN SERVICING LLC**       AMOUNTS DISBURSED TO CREDITOR                           852.60
05/24/2019   1118091    BAYVIEW LOAN SERVICING LLC**       AMOUNTS DISBURSED TO CREDITOR                           438.98
06/25/2019   1121442    BAYVIEW LOAN SERVICING LLC**       AMOUNTS DISBURSED TO CREDITOR                           452.59
07/29/2019   1124926    BAYVIEW LOAN SERVICING LLC**       AMOUNTS DISBURSED TO CREDITOR                           332.25
08/27/2019   1128356    BAYVIEW LOAN SERVICING LLC**       AMOUNTS DISBURSED TO CREDITOR                           338.01
09/24/2019   1131798    BAYVIEW LOAN SERVICING LLC**       AMOUNTS DISBURSED TO CREDITOR                           340.03
10/24/2019   1135034    BAYVIEW LOAN SERVICING LLC**       AMOUNTS DISBURSED TO CREDITOR                           887.49
11/25/2019   1138492    BAYVIEW LOAN SERVICING LLC**       AMOUNTS DISBURSED TO CREDITOR                           442.52
12/23/2019   1141937    BAYVIEW LOAN SERVICING LLC**       AMOUNTS DISBURSED TO CREDITOR                           359.80
01/28/2020   1148087    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      503.21
02/25/2020   1151631    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      559.48
03/23/2020   1155092    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      609.78
04/27/2020   1158549    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      653.86
05/26/2020   1161875    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      663.07
06/26/2020   1165049    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      689.51
07/29/2020   1168135    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      574.86
08/25/2020   1171199    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      184.20
09/28/2020   1174324    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      732.52
10/26/2020   1177384    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      458.36
11/24/2020   1180446    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      458.36
12/21/2020   1183340    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      458.36
01/25/2021   1186384    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      458.36
02/22/2021   1189498    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      458.36
03/26/2021   1192825    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      458.36
05/25/2021   1199138    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      721.82
06/25/2021   1202350    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      650.50
07/26/2021   1205517    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      457.90
08/26/2021   1208687    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      457.90
09/24/2021   1211783    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      457.90
10/25/2021   1214831    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      457.90
11/22/2021   1217857    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      457.90
12/23/2021   1220958    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      457.90
01/26/2022   1223991    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTO
                                                                               MTG
                                                                                 CREDITOR
                                                                                   LN TRUST C                      547.46

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Debtor 1     MICHAL J. GHAFOOR                                          Case number (if known) 19-20118GLT
             Name




                                             Disbursement History

Date         Check #    Name                                  Posting Type                                         Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
02/23/2022   1226833    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTOMTG
                                                                                  CREDITOR
                                                                                    LN TRUST C           547.46
03/25/2022   1229849    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            - TRUSTEEDISBURSED
                                                                      STANWICHTOMTG
                                                                                  CREDITOR
                                                                                    LN TRUST C           547.46
04/11/2022   1229849    WILMINGTON SAVINGS FUND SOCIETY FSBCANCELLED
                                                            - TRUSTEE STANWICH
                                                                       CHECK TO MTG
                                                                                CREDITOR/CONTINUING
                                                                                    LN TRUST C      DEBT-547.46
05/25/2022   1235924    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR            1,642.38
06/27/2022   1238944    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               547.46
07/26/2022   1241871    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               547.46
08/24/2022   1244731    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               547.46
09/27/2022   1247621    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               547.46
10/25/2022   1250401    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               547.46
11/23/2022   1253212    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               547.46
12/22/2022   1255941    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               434.39
01/26/2023   1258660    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               434.39
02/23/2023   1261215    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               434.39
03/28/2023   1264041    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               434.39
04/25/2023   1266842    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               434.39
05/25/2023   1269732    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               434.39
06/26/2023   1272609    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               434.39
07/25/2023   1275357    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               434.39
08/25/2023   1278161    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               434.39
09/26/2023   1280851    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               434.39
10/25/2023   1283538    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               434.39
11/27/2023   1286234    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               434.39
12/21/2023   1288782    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               485.26
01/26/2024   1291516    WILMINGTON SAVINGS FUND SOCIETY FSBAMOUNTS
                                                            -TRUSTEEDISBURSED
                                                                      ET AL    TO CREDITOR               574.82
                                                                                                     28,779.46




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                                          CERTIFICATE OF
                                          Document       SERVICE
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I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

MICHAL J. GHAFOOR
516 KELLY AVENUE
PITTSBURGH, PA 15221

GLENN R BARTIFAY ESQ**
2009 MACKENZIE WAY STE 100
CRANBERRY TWP, PA 16066

WILMINGTON SAVINGS FUND SOCIETY FSB -TRUSTEE ET AL
C/O CARRINGTON MORTGAGE SERVICES LLC
1600 S DOUGLASS RD
ANAHEIM, CA 92806

RANDALL S MILLER & ASSOCIATES PC
43252 WOODWARD AVE STE 180
BLOOMFIELD HILLS, MI 48302




6/27/24                                                        /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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